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                                                       July 13, 2022
 VIA E-FILE
 The Honorable Robert B. Kugler, U.S.D.J.
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets,
 Camden, NJ 08101

          RE:        Restorix Health, Inc. v. Salem County Hospital Corp.
                     Civil Action No: 1:22-cv-02712
                     Opposition to Plaintiff’s Motion for Writ of Replevin

 Dear Judge Kugler:

          As you are aware, our offices represent Defendant, Salem County Hospital Corp.
 (“Defendant”), in the above-referenced matter. Please accept this letter brief in lieu of a more
 formal submission as Opposition to Plaintiff’s Motion for a Writ of Replevin.
          In short, (1) Plaintiff has not established a probability of Final Judgment pursuant to
 F.R.C.P. 64(a), N.J.S.A. 2B:50-1, N.J.S.A. 2B:50-2, and Rule 4:61-1; (2) Defendant has raised
 issues of material fact in its Answer with Affirmative Defenses and Counterclaims and Opposition
 to Plaintiff’s Motion for Writ of Replevin, which needs to be fully adjudicated on the merits,
 including, but not limited to, Plaintiff failed to establish that an event of default occurred and the
 Agreements are unconscionable, specifically, the provisions stating Plaintiff is entitled to
 immediate repossession of the medical equipment; (3) replevin is not appropriate at this juncture
 as this matter is only in its infancy stages and no discovery has been served nor completed; and (4)
 Plaintiff has not established that repossessing the medical equipment is commercially reasonable.
          Therefore, based on the foregoing, and the arguments herein, Plaintiff’s Motion for a Writ
 of Replevin must be denied in its entirety.
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        II.     LEGAL ARGUMENT

                A.      LAW OF REPLEVIN

        Under Federal Law, “[a]t the commencement of and throughout an action, every remedy

 is available that, under the law of the state where the court is located, provides for seizing a person

 or property to secure satisfaction of the potential judgment.” See F.R.C.P. 64(a). Accordingly,

 under New Jersey law, replevin is governed by N.J.S.A. 2B:50-1, et seq. Pursuant to N.J.S.A.

 2B:50-1, “[a] person seeking recovery of goods wrongly held by another may bring an action for

 replevin . . . If the person establishes the cause of action, the court shall enter an order granting

 possession.”

        Further, pursuant to N.J.S.A. 2B:50-2(a), the court may, prior to final judgment, “after

 notice and hearing, and based upon filed papers and testimony, if any . . . grant possession of the

 goods to the plaintiff” if it “finds a probability of final judgment for the plaintiff.” See Gen. Elec.

 Capital Corp. v. Oncology Associates of Ocean Cty. LLC, No. CIV. 10-1971 AET, 2011 WL

 6179255, at *4 (D.N.J. Dec. 12, 2011); see also Video Pipeline, Inc. v. Buena Vista Home Entm’t

 Inc., 275 F. Supp. 2d 543, 576 (D.N.J. 2003). “Judgment is ‘probable if it can be reasonably and

 fairly convincingly be accepted as true, factual, or possible without being undeniably so.’” Scaba

 v. JetSmarter, Inc., 2019 U.S. Dist. LEXIS 142511, *17, 2019 WL 3947510 (citing Sentry Ins. v.

 Sky Mgmt. Inc., 34 F. Supp. 2d 900, 905 (D.N.J. 1999) (quoting Fravega v. Sec. Say. & Loan

 Ass’n, 192 N.J. Super. 213 (Ch. Div. 1983))).

        Pre-judgment attachment is "an extraordinary remedy, the availability of which is

 narrowly circumscribed by statute, [requiring] both the statute and the court rules proscribing the

 procedure for seeking pre-judgment attachment must be strictly construed." Isr. Bank of N.Y. v.

 H.N. Int’l Grp., No. 16-6258, 2016 U.S. Dist. LEXIS 142444, 2016 WL 6023155, at *3, n.2 (D.N.J.




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 Oct. 14, 2016 (quoting In re Estate of Balgar, 399 N.J. Super. 426 (Law Div. 2007) (emphasis

 added). Under New Jersey law, like a writ of replevin, a writ of attachment may issue only upon

 the court's finding that there is a probability that final judgment will be rendered in favor of the

 plaintiff. See R. 4:60-5.

         Here, pursuant to F.R.C.P. 64(a), N.J.S.A. 2B:50-1, et seq., N.J.S.A. 2B:50-2(a), and R.

 4:61-1, Plaintiff is not entitled to replevin of the medical equipment as: (1) Plaintiff has not

 established a probability of Final Judgment pursuant to F.R.C.P. 64(a), N.J.S.A. 2B:50-1, N.J.S.A.

 2B:50-2, and Rule 4:61-1; (2) Defendant has raised issues of material fact in its Answer with

 Affirmative Defenses and Counterclaims and Opposition to Plaintiff’s Motion for Writ of

 Replevin, which needs to be fully adjudicated on the merits, including, but not limited to, Plaintiff

 failed to establish that an event of default occurred and the Agreements are unconscionable,

 specifically, the provisions stating Plaintiff is entitled to immediate repossession of the medical

 equipment; (3) replevin is not appropriate at this juncture as this matter is only in its infancy stages

 and no discovery has been served nor completed; and (4) Plaintiff has not established that

 repossessing the medical equipment is commercially reasonable.

                 B.      PLAINTIFF HAS NOT ESTABLISHED A PROBABILITY OF
                         FINAL JUDGMENT IN ITS MOTION FOR WRIT OF REPLEVIN

         Plaintiff has not established a probability of Final Judgment in its Motion for Writ of

 Replevin. Instead, in support of Plaintiff’s argument that “Restorix has . . . demonstrated the

 probability that it will ultimately prevail on the underlying claim”, Plaintiff asserts that “[t]he

 Complaint and Certification of Patrick Seiler clearly demonstrate” Plaintiff’s right of replevin. See

 Plaintiff’s Memorandum of Law in Support of Plaintiff’s Motion for Replevin, Page 8.

         This could not be further from the truth. In fact, Plaintiff’s Motion for Writ of Replevin

 was filed on May 17, 2022, before Defendant’s Answer to Plaintiff’s Complaint was due to be



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 filed and was even filed before Defendant was served with Plaintiff’s Complaint. As per the

 Affidavit of Service filed by Plaintiff on or about June 1, 2022, Defendant’s representative was

 served on or about May 25, 2022. As such, Defendant’s deadline to file its Answer was one or

 about June 15, 2022.1 Accordingly, Defendant, through counsel, timely filed its Answer with

 Affirmative Defenses and Counterclaims on or about July 18, 2022, and vigorously set forth

 numerous defenses to Plaintiff’s claims for damages and for possession of the equipment.

         Therefore, Defendant’s numerous defenses to Plaintiff’s claims for damages and for

 possession of the equipment and Defendant’s Counterclaims against Plaintiff involving Plaintiff’s

 right of replevin need to be adjudicated, as Plaintiff has not established a probability that it will

 ultimately prevail on the underlying claim.

         Moreover, Plaintiff argues “[a]s a result of Salem’s breach, Restorix is entitled to remove

 its medical equipment from Salem’s CWC Facility in accordance with the ASA” and relies on

 Section 10.3(A) and Section 10.5 of the ASA. See Plaintiff’s Memorandum of Law in Support of

 Plaintiff’s Motion for Replevin, Page 3. However, these sections of the ASA require a

 determination of a material breach of the ASA before permitting the ASA to be terminated and

 removal of property, and as such, a finding of a material breach must be found by this Court before

 Plaintiff can succeed on the merits, especially, since Defendant denies they material breached the

 ASA, and in fact, filed a Counterclaim against Plaintiff for materially breaching the ASA.

         As will be discussed herein, Defendant denies that an event of default occurred and raises

 several issues of material fact which directly refute Plaintiff’s right of replevin; Defendant is

 vigorously contesting Plaintiff’s claims in this litigation. Absent a credible showing that Plaintiff




         1
                To note, Defendant’s deadline to file its Answer to Plaintiff’s Complaint was extended to July 18,
 2022.


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 will probably succeed on their claims in their litigation, which has not been shown, the Court

 simply cannot grant the requested writ of replevin.

                C.      DEFENDANT HAS RAISED ISSUES OF MATERIAL FACT IN ITS
                        ANSWER WITH AFFIRMATIVE DEFENSES AND
                        COUNTERCLAIMS AND OPPOSITION TO PLAINTIFF’S
                        MOTION FOR WRIT OF REPLEVIN WHICH
                        NEED TO BE FULLY ADJUDICATED ON THE MERITS

        Defendant has raised issues of material fact in its Answer with Affirmative Defenses and

 Counterclaims and Opposition to Plaintiff’s Motion for Writ of Replevin which need to be fully

 adjudicated on the merits.

                1.      Plaintiff Failed to Establish that an Event of Default Occurred

        First and foremost, Defendant’s Answer with Affirmative Defenses and Counterclaims

 denies that an event of default or material breach of the ASA occurred, which would allegedly

 entitle Plaintiff to replevin/repossession. Importantly, the Certification of Patrick Seiler, Chief

 Financial Officer of Plaintiff, (hereinafter the “Seiler Certification”), Plaintiff’s Complaint,

 Plaintiff’s Memorandum of Law in Support of Plaintiff’s Motion for Replevin, and Plaintiff’s

 Breach of Contract fail to even state the alleged specific date of default or material breach, but

 instead, baldly state “Salem had not paid Restorix any compensation for over ten (10) months.”

 See Plaintiff’s Complaint, ¶20. Obviously, the fact that this critical fact was left out of Plaintiff’s

 submissions speaks volumes on why Plaintiff cannot prove that Defendant defaulted on the

 Agreements.

        Moreover, the Seiler Certification is based entirely on hearsay, is wholly conclusory, and

 is without any proper support. Without proper support, including, but not limited to, symbiotic

 Certifications of Regional Director Nicholas Dominici and Restorix Dan Cohen, who allegedly

 have knowledge of Plaintiff’s alleged attempts to remove the medical equipment from the




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 Hospital, the date of the alleged default, and the determination that Plaintiff did not default under

 the ASA, Plaintiff is unable to establish the occurrence of an event of default under the ASA, a

 necessary precondition to any replevin or repossession relief sought. See generally Isr. Disc. Bank

 of N.Y. v. H.N. Int’l Group, Inc., 2016 U.S. Dist. LEXIS 142444, *9. Additionally, Defendant

 should be permitted to depose Patrick Seiler, Nicholas Dominici, and Dan Cohen to explore their

 personal knowledge related to Plaintiff’s right of replevin. Therefore, at this juncture, Plaintiff has

 failed to establish that an event of default occurred.

                        2.      The Provisions in the Agreements stating Plaintiff is Entitled to
                                Immediate Repossession of the Medical Equipment are
                                Unconscionable

        The provisions in the Agreement stating that Plaintiff is entitled to immediate repossession

 of the medical equipment is unconscionable. First and foremost, Defendant denies the allegations

 in Count V of Plaintiff’s Complaint, which seeks Replevin. Moreover, Defendant raises

 Affirmative Defenses that Plaintiff’s claims are barred as Plaintiff is not entitled to replevin

 pursuant to N.J.S.A. 2B:50-1 and that Plaintiff’s claims are barred, in whole or in part, because the

 Agreement is unconscionable. See Defendant’s Thirteenth and Fourteenth Affirmative Defense.

 Furthermore, Defendant’s Answer with Affirmative Defenses and Counterclaims asserts a

 Counterclaim for Declaratory Judgment Reforming the Unconscionable Agreements to Strike the

 Right of Repossession/Replevin of Life-Saving Medical Equipment to Prevent Manifest Injustice

 and Preserve Human Lives. See Defendant’s Third Counterclaim.

        Due to the life-saving nature of the equipment involved in the Agreement, any immediate

 replevin or repossession, would manifest injustice and endanger human life, as these remedies are

 unconscionable. The determination of seeking repossession of collateral is a "flexible concept

 based upon a consideration of all relevant factors presented in each individual case." Security Sav.




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 Bank, SLA v. Tranchitella, 249 N.J. Super. 234, 239 (App. Div. 1991); see also First Fidelity

 Acceptance v. Hutchins, 315 N.J. Super. 201, 204 (Law Div. 1998). Accordingly, “[i]f the Court

 as a matter of law finds the contract or any clause of the contract to have been unconscionable at

 the time it was made the court may refuse to enforce the contract, or it may enforce the remainder

 of the contract without the unconscionable clause, or it may so limit the application of any

 unconscionable clause as to avoid any unconscionable result.” See N.J.S.A. 12A:2-302(1).

        Here, the Agreement’s default remedies, specifically, Section 9.5, Section 10.3(A), and

 Section 10.5 of the Agreement are unconscionable. The unique nature of the medical equipment

 renders replevin/repossession an unacceptable and inequitable remedy under these circumstances.

 The law does not favor forfeiture, and where appropriate a court in its discretion may refuse to

 enforce a contract provision calling for replevin. See Sovereign Bank, FSB v. Kuelzow, 297 N.J.

 Super. 187, 196 (App. Div. 1997); Carteret Props. v. Variety Donuts, Inc., 49 N.J. 116, 127 (1967).

 As stated above, New Jersey strongly encourages a case-by-case determination of replevin,

 specifically, to ensure that situations such as this, where replevin would endanger health and safety,

 are avoided in accordance with public policy.

        The medical equipment is an integral part of the treatment and care of the Hospital’s

 patients for life-compromising diseases and infections, and without such would compromise many

 lives. The medical equipment allows the body to breathe in pure oxygen in air pressure levels 1.5

 to 3 times higher than average to fill the blood with enough oxygen to repair tissues, restore normal

 body functions, and speed up the healing of wounds that won’t heal and infections in which tissues

 are starved for oxygen. Moreover, the medical equipment helps break the cycle of swelling, oxygen

 starvation, and tissue death, helps prevent the clamping of blood vessels and stoppage of blood

 flow, disables the toxins of certain bacteria to resist infection and improves the ability of white




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 blood cells to find and destroy invaders. Furthermore, the medical equipment aids in the recovery

 and healing of more than a dozen serious medical conditions, including chronic illnesses, diseases

 and burns. Therefore, the life-saving medical equipment is integral to the health and life-saving

 process of many patients at the Hospital, and it is almost certain that lives would be comprised if

 this machinery is repossessed by Plaintiff.

        Simply, it would be unjust and inequitable to permit Plaintiff immediate repossession and

 replevin under these circumstances, where the collateral in question is life-saving medical

 equipment necessary to the safety of operating room Hospital staff and patients. Therefore,

 Defendant’s Answer and Affirmative Defenses and Counterclaims pertaining to the

 unconscionability of the Agreement must be fully adjudicated on the merits as a matter of law

 before Plaintiff’s Motion for Replevin can be addressed.

                D.      REPLEVIN IS NOT APPROPRIATE AT THIS JUNCTURE, AS
                        THIS MATTER IS ONLY IN ITS INFANCY STAGES AND NO
                        DISCOVERY HAS BEEN SERVED NOR COMPLETED.

        Replevin is not appropriate at this juncture, as this matter is only in its infancy stages and

 no discovery has been served nor completed. As the Scaba Court properly concluded based of its

 procedural history, which is the same procedural history in this matter, “[t]he present matter is

 only in its initial stages and no discovery has been completed. Therefore, like the court in

 Pricaspian, the Court is unable to determine at this juncture the likelihood of Plaintiff’s success.”

 Scaba v. JetSmarter, Inc., 2019 U.S. Dist. LEXIS 142511, *18, 2019 WL 3947510.

        As per the Affidavit of Service filed by Plaintiff on or about June 1, 2022, Defendant’s

 representative was served on or about May 25, 2022, with the Summons and Complaint. As such,

 Defendant was made aware of Plaintiff’s cause of action for replevin less than two (2) months ago.

 Moreover, Plaintiff’s Motion for Writ of Replevin was filed on or about May 17, 2022, about one




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 (1) month ago. Clearly, any purported knowledge by Defendant that Plaintiff could be granted

 permission to repossess the medical equipment has not been immediate and the instantaneous

 removal of the medical equipment would be severe, and irreversible. But see Gen. Elec. Capital

 Corp. v. Oncology Associates of Ocean Cty. LLC, No. CIV. 10-1971 AET, 2011 WL 6179255, at

 *19 (D.N.J. Dec. 12, 2011) (holding that replevin was appropriate when repossession has been

 anything but immediate, the motion for replevin was filed over eighteen (18) months ago, and

 Defendant knew since that time that Plaintiff could be granted permission to repossess the medical

 devices and could have accounted for such a contingency.

        Moreover, no discovery has been served nor completed in this matter. Furthermore, as a

 practical matter, Plaintiff has not filed a responsive pleading to Defendant’s Counterclaims and

 their deadline to respond is August 8, 2022, which is one (1) week after the return date of Plaintiff’s

 Motion for Writ of Replevin, which is returnable August 1, 2022. As it stands, Defendant’s

 Counterclaims have not been refuted, to date. Therefore, replevin is not appropriate at this juncture,

 as this matter is only in its infancy stages and no discovery has been served nor completed.

                E.      PLAINTIFF HAS NOT ESTABLISHED THAT REPOSSESSING
                        THE MEDICAL EQUIPMENT IS COMMERCIALLY
                        REASONABLE.

        Plaintiff has not established that repossessing the medical equipment is commercially

 reasonable. “When dealing with repossession, New Jersey courts have found that where the cost

 of repossessing collateral and preparing same for sale likely exceeds the price the secured party

 will obtain in selling the collateral, repossessing the collateral may not be commercially

 reasonable.” Gen. Elec. Capital Corp. v. Oncology Associates of Ocean Cty. LLC, No. CIV. 10-

 1971 AET, 2011 WL 6179255, at *18 (D.N.J. Dec. 12, 2011) (citing First Fidelity Acceptance v.

 Hutchins, 315 N.J. Super. 201 (N.J. Super. Ct. Law Div. 1998).




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        Here, the valuation of the collateral, the medical equipment, is unknown. Plaintiff baldly

 argues that “the Court act on our application immediately and order Salem to make the HBO

 Chamber available for immediate retrieval.” See Seiler Certification, ¶27. However, no appraisal

 report, expert report, accounting, financial summary, nor other reports or documents related to the

 value of the medical equipment has been provided by Plaintiff. The parties should be afforded the

 right to explore the value of the HBO Chamber in discovery to determine if repossession of the

 collateral is commercially reasonable.

        Simply, the value of the medical equipment is a question of material fact that has not been

 answered. As to the “proofs” presented, Plaintiff has not offered any sufficient evidence to

 establish that the medical equipment would have substantial value if removed or that the cost of

 repossessing the medical equipment and preparing same for sale will likely exceed the price

 Plaintiff will obtain in selling the medical equipment; discovery is needed to determine if replevin

 of the medical equipment is commercially reasonable. Therefore, it is evident that Plaintiff has not

 established that repossessing the medical equipment is commercially reasonable.

        III.    CONCLUSION
        For the reasons stated herein, Plaintiff’s Motion for a Writ of Replevin must be denied in

 its entirety and this case must proceed to discovery.



                                                              FAZZIO LAW OFFICES


                                                              By: /s/ John P. Fazzio
                                                              JOHN P. FAZZIO, ESQ.
                                                              Attorneys for Defendant,        Salem
                                                              County Hospital Corp.
 Dated: July 13, 2022




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